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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 COMMUNITY HOUSING IMPROVEMENT
 PROGRAM, RENT STABILIZATION ASSOCIATION OF
 N.Y.C., INC., CONSTANCE NUGENT-MILLER, et al.,

                                    Plaintiffs,
                                                                 JUDGMENT
                                                                 19-cv-4087(EK)(RLM)
                  -against-
 CITY OF NEW YORK, RENT GUIDELINES BOARD,
 DAVID REISS, CECILIA JOZA, ALEX SCHWARZ,
 GERMAN TEJEDA, MAY YU, et al.,

                                     Defendants.
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         A Memorandum and Order of Honorable Eric Komitee, United States District Judge,

 having been filed on September 30, 2020, granting Defendants’ motions to dismiss all claims in

 Community Housing Improvement Program v. City of New York (19-cv-4087); and dismissing

 the action in CHIP (19-cv-4087) in its entirety; it is

         ORDERED and ADJUDGED that Defendants’ motions to dismiss all claims in

 Community Housing Improvement Program v. City of New York (19-cv-4087) is granted; and

 that the action in CHIP (19-cv-4087) is now dismissed in its entirety.

 Dated: Brooklyn, NY                                             Douglas C. Palmer
        September 30, 2020                                             Clerk of Court

                                                                 By: /s/Jalitza Poveda
                                                                         Deputy Clerk
